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                             Exhibit
                                 1 (1)
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DOE NUMBER: 702
MARKETPLACE: Other
MERCHANT NAME: anblinlast
SELLER ID: anblinlast.com
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DOE NUMBER: 704
MARKETPLACE: Other
MERCHANT NAME: approachee
SELLER ID: approachee.com
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DOE NUMBER: 713
MARKETPLACE: Other
MERCHANT NAME: awakelet
SELLER ID: awakelet.com
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DOE NUMBER: 714
MARKETPLACE: Other
MERCHANT NAME: beautifuldeer
SELLER ID: beautifuldeer.com
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DOE NUMBER: 715
MARKETPLACE: Other
MERCHANT NAME: befullofbest
SELLER ID: befullofbest.com
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DOE NUMBER: 720
MARKETPLACE: Other
MERCHANT NAME: blink-rain
SELLER ID: blink-rain.com
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DOE NUMBER: 728
MARKETPLACE: Other
MERCHANT NAME: cheap-easy-go
SELLER ID: cheap-easy-go.com
Case 1:23-cv-22322-DSL Document 130-3 Entered on FLSD Docket 10/14/2023 Page 52 of
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DOE NUMBER: 735
MARKETPLACE: Other
MERCHANT NAME: conversionb
SELLER ID: conversionb.com
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DOE NUMBER: 743
MARKETPLACE: Other
MERCHANT NAME: dice-fox
SELLER ID: dice-fox.com
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DOE NUMBER: 754
MARKETPLACE: Other
MERCHANT NAME: enjoyaitlife
SELLER ID: enjoyaitlife.com
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DOE NUMBER: 763
MARKETPLACE: Other
MERCHANT NAME: fankisses
SELLER ID: fankisses.com
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Case 1:23-cv-22322-DSL Document 130-3 Entered on FLSD Docket 10/14/2023 Page 96 of
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DOE NUMBER: 765
MARKETPLACE: Other
MERCHANT NAME: feelrational
SELLER ID: feelrational.com
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Case 1:23-cv-22322-DSL Document 130-3 Entered on FLSD Docket 10/14/2023 Page 99 of
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DOE NUMBER: 767
MARKETPLACE: Other
MERCHANT NAME: firemid
SELLER ID: firemid.com
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Case 1:23-cv-22322-DSL Document 130-3 Entered on FLSD Docket 10/14/2023 Page 103 of
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    Case 1:23-cv-22322-DSL Document 130-3 Entered on FLSD Docket 10/14/2023 Page 104 of
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DOE NUMBER: 769
MARKETPLACE: Other
MERCHANT NAME: flowercog
SELLER ID: flowercog.com
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DOE NUMBER: 772
MARKETPLACE: Other
MERCHANT NAME: formulalm
SELLER ID: formulalm.com
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DOE NUMBER: 773
MARKETPLACE: Other
MERCHANT NAME: frame-wood.
SELLER ID: frame-wood.com
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DOE NUMBER: 775
MARKETPLACE: Other
MERCHANT NAME: futuremagics
SELLER ID: futuremagics.com
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DOE NUMBER: 778
MARKETPLACE: Other
MERCHANT NAME: glossarye
SELLER ID: glossarye.com
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DOE NUMBER: 780
MARKETPLACE: Other
MERCHANT NAME: gorgeifous
SELLER ID: gorgeifous.com
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DOE NUMBER: 781
MARKETPLACE: Other
MERCHANT NAME: gorgeousdo
SELLER ID: gorgeousdo.com
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DOE NUMBER: 785
MARKETPLACE: Other
MERCHANT NAME: hailoyearn
SELLER ID: hailoyearn.com
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DOE NUMBER: 786
MARKETPLACE: Other
MERCHANT NAME: happytoobtain
SELLER ID: happytoobtain.com
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Case 1:23-cv-22322-DSL Document 130-3 Entered on FLSD Docket 10/14/2023 Page 196 of
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DOE NUMBER: 798
MARKETPLACE: Other
MERCHANT NAME: infrontofmoon
SELLER ID: infrontofmoon.com
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DOE NUMBER: 800
MARKETPLACE: Other
MERCHANT NAME: jewelawne
SELLER ID: jewelawne.com
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Case 1:23-cv-22322-DSL Document 130-3 Entered on FLSD Docket 10/14/2023 Page 203 of
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DOE NUMBER: 803
MARKETPLACE: Other
MERCHANT NAME: jingle-shines
SELLER ID: jingle-shines.uk
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Case 1:23-cv-22322-DSL Document 130-3 Entered on FLSD Docket 10/14/2023 Page 207 of
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Case 1:23-cv-22322-DSL Document 130-3 Entered on FLSD Docket 10/14/2023 Page 209 of
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Case 1:23-cv-22322-DSL Document 130-3 Entered on FLSD Docket 10/14/2023 Page 210 of
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Case 1:23-cv-22322-DSL Document 130-3 Entered on FLSD Docket 10/14/2023 Page 211 of
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Case 1:23-cv-22322-DSL Document 130-3 Entered on FLSD Docket 10/14/2023 Page 212 of
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DOE NUMBER: 817
MARKETPLACE: Other
MERCHANT NAME: lovermelody
SELLER ID: lovermelody.com
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DOE NUMBER: 818
MARKETPLACE: Other
MERCHANT NAME: lovertune
SELLER ID: lovertune.com
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     Case 1:23-cv-22322-DSL Document 130-3 Entered on FLSD Docket 10/14/2023 Page 233 of
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DOE NUMBER: 819
MARKETPLACE: Other
MERCHANT NAME: luckyarrange
SELLER ID: luckyarrange.com
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Case 1:23-cv-22322-DSL Document 130-3 Entered on FLSD Docket 10/14/2023 Page 235 of
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DOE NUMBER: 821
MARKETPLACE: Other
MERCHANT NAME: mattch-better
SELLER ID: mattch-better.com
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Case 1:23-cv-22322-DSL Document 130-3 Entered on FLSD Docket 10/14/2023 Page 238 of
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Case 1:23-cv-22322-DSL Document 130-3 Entered on FLSD Docket 10/14/2023 Page 239 of
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Case 1:23-cv-22322-DSL Document 130-3 Entered on FLSD Docket 10/14/2023 Page 240 of
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Case 1:23-cv-22322-DSL Document 130-3 Entered on FLSD Docket 10/14/2023 Page 241 of
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Case 1:23-cv-22322-DSL Document 130-3 Entered on FLSD Docket 10/14/2023 Page 242 of
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Case 1:23-cv-22322-DSL Document 130-3 Entered on FLSD Docket 10/14/2023 Page 244 of
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Case 1:23-cv-22322-DSL Document 130-3 Entered on FLSD Docket 10/14/2023 Page 245 of
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DOE NUMBER: 822
MARKETPLACE: Other
MERCHANT NAME: matureidea
SELLER ID: matureidea.com
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DOE NUMBER: 825
MARKETPLACE: Other
MERCHANT NAME: meotilicn
SELLER ID: meotilicn.com
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